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Exhibit 1

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Page 1 ‘Page3:
1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 UNITED STATES BANKRUPTCY COURT 2 APPEARANCES:
3 FOR THE DISTRICT OF DELAWARE 3
© " x 4 SULLIVAN & CROMWELL
4 InRe: 5 Attorneys for E-side Official Creditors
9 Energy Future Holdings Corporation, et-al., 6 125 Broad Street
6 __ Debtors. 7 New York, New York 10004
7 Chapter 11 8 BY: JOHN HARDIMAN, ESQ.
8 ‘Case No. 14-10979 9 NICHOLAS MENILLO, ESQ.
9 Jointly Administered 10
10 =e x
11 DEPOSITION OF MICHAEL HENKIN 2 Women for ne Doak oe
i oberg onic 13. 300North LaSalle
14 7 14 Chicago, Illinois 60654
15 15 BY: JEFFREY LULA, ESQ.
16 16 = MARK McKANE, ESQ.
1 17
‘3 18 MUNGER TOLLES & OLSON
19 19. Attomeys for the TCH Debtors
20 20 355 South Grand Avenue
21 21 Los Angeles, California 90071
22 22 BY: BRADLEY SCHNEIDER, ESQ.
23 Reported by: 23. . KEVIN ALLRED, ESQ.
24 KATHY S. KLEPFER, RMR, RPR, CRR, CLR 24. THOMAS WALPER, ESQ.
25. JOB NO. 99258 25. ALEX TEREPKA, ESQ.
© Page 2 Page 4
1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 October 21, 2015 2
3 3 APPEARANCES: (Cont'd.)
4 Deposition of MICHAEL HENKIN, held 4
5 at Kirkland & Ellis, LLP, 601 Lexington 5 PAUL WEISS RIFKIND WHARTON:& GARRISON
6 Avenue, New York, New York, before Kathy 6 Attorneys for Ad Hoc Committee of TCEH First Lien
7 S. Klepfer, a Registered Professional 7 Creditors
8 Reporter, Registered Merit Reporter, 8 1285 Avenue of the Americas
9 Certified Realtime Reporter, Certified 9 __ New York, New York 10019
10 Livenote Reporter, and Notary Public of 10 BY: KIMBERLY FRANCIS, ESQ.
41 the State of New York. 2 NIXON GEABODY.
4 13: Attorneys for American Stock Transfer as Indenture
14 14 Trustee at EFH
15 100 Summer Street
15 16 Boston, Massachusetts 02110
16 17 BY: PAUL WILLIAMSON, ESQ.
% 18 RICHARD PEDONE, ESQ. (Telephonically)
19
19 20 AKIN GUMP STRAUSS HAUER & FELD
20 21 Attomeys for UMB Bank, As Indenture Trustee for the
21 22 Unsecured 11.25 Percent/12.25 Percent Senior Toggle
22 23 Notes Due 2018
@- 24. One Bryant Park
24 New York, New York 10036
25 25 BY: RICHARD WILLIAMS, JR., ESQ.

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2 transposed, which was an error. It was just a

eS 3 clerical error.

4 Q. Were you being literal when you said

5 there was a typographical error?

6 A. I['mbeing literal.

7 QQ. Like a spelling error?

8 A. No, I think we said “the yields was"

9 instead of "the yields were.” There were two
10. instances of that.

11. Q. Fm not going to judge a banker on

12 subject/verb agreement.

13. A. These are changes that | would say are
14 immaterial to the conclusions. And then, again,
15 footnote 63, | believe, is where the 3.5 and 8.5

17° -Q.. Gotit.

18 A. And so it should say 5.8, 2.6, 8.5 and
19 3.5, but other than that, | don't believe

20 there's any errors in the report.

21 Q. Does the report reflect all of your

22 opinions that you are offering in this case?
23

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16 years should be reversed. They were transposed.

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1 MICHAEL HENKIN
2 regards to the expert reports of the debtors
3 other than Mr. Mendelsohn?
4 A... Opinions in the form of expert
5 opinions or --
6 Q. Yes.
7 -A. No.
8  Q. Have you been asked to form any
9 opinions?
10. A. No.

11. Q. Have you been asked to comment in any
12 way on those expert reports?

13... A. . To my own team?

14 MR. HARDIMAN: I'm going to instruct

15 him not to answer with respect to the

16. reinstatement.

17 Q.  Solet's table reinstatement.

18 A. Setting aside reinstatement, we've had
19 a discussion as a team, including S&C, about the
20 reports, but | haven't offered any new opinions.
21 ~Q._ Have you prepared any analysis

22 regarding the reports?

23. A. No.

24 Q. Have you been asked to prepare a

25. rebuttal report?

24
25 o
@.
2
3
4
6 Q. You may issue a secondary report.on
7 reinstatement?
8 A. I don't know.
9 Q. You haven't been asked to do so at
10 this time?
11 A... | haven't been asked to do so at this
12: time.
13° Q. In paragraph 8, you state that you

14 reserve to the right to respond to the report or

15 testimony of any of the debtors’ experts.

16 Do you see that?

17. A. I'msorry, paragraph 8? Yes. Yes. |

18 do.

19 Q. Have you reviewed the expert reports

20 of the debtors, other than Mr. Mendelsohn's

21 report?

22. A. Ihave reviewed the Ying Report and a

@. couple of the others. | glanced through, the
24 Phil Singer.

25 Q._ Have you formed any opinions as

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1 MICHAEL HENKIN

2 A. No.

3. Q. Are you prepared to provide any

4. commentary, expert or otherwise, on the expert

5 reports or the analysis of the debtors contained

6 in those reports?

7 MR. HARDIMAN: What.do you mean,

8 prepared at the hearing?

9 MR. McKANE: Yes.
10 MR. HARDIMAN:. Other than Mendelsohn?
11 THE WITNESS: Other than Mendelsohn?
12 BY MR. McKANE:
13° Q. Yes.
14. A. _ Idon'tthink so.

15 Q. And are you prepared today to identify
16 any commentary, expert or otherwise, you have
17 with regards to the reports of the experts other
18 than Mendelsohn?

19 A. We did find an error in the Ying

20 Report that we alerted the Phil Singer Team and
21 one of the K&E attorneys about a week ago.

22. .Q. And what is that error?

23 A. He improperly weighted the

24 environmental case by one-third instead of 50
25 percent in his TCEH terminal year valuation in

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1 MICHAEL HENKIN 4 MICHAEL HENKIN .

2 his TCEH valuation report. 2 deposition and the trial testimony?

3. Q. Was that addressed with Mr. Ying 3. A. There is.

4 during his deposition yesterday -- Monday? 4 MR. McKANE: | would request a copy.

5 Excuse me. — 5 MR. HARDIMAN: We will take that under

6 _A.. | don't know if it was. But again, we 6. advisement.

7 did inform the debtors. 7 MR. McKANE: Absolutely.

8 MR. HARDIMAN: It goes to - 8 BY MR. McCKANE:

9 _ reinstatement, so | don't believe it was: 9 Q._ Prior to your testimony in Exide, have
10 ~Q. And when was the last time you were 10 you previously testified in court or in the form
11 deposed? 11 of deposition?

12 A. In October of last year. 12. A. Yes.
13° Q. And what was that case? 13. Q. And when was that?
14 A. Exide Technologies. 14. A. The prior time before Exide in Federal
15. Q. And the disclosure that you made in 15. Bankruptcy Court would have been DBSD.
16 your expert report regarding Exide, that 16 Q. And what about other than Bankruptcy
17 testimony was in the form of a deposition? 17 Court?
18 A. It was both a deposition, a 18 A. I provided a report in a tax dispute
19 declaration, and an in-court testimony. 19 with respect to Federal Mogul... ! don't know if
20. Q. And the testimony that was listed on 20 that would qualify as an expert opinion or not.
21 Halloween of last year, was that the trial 21  Q. ‘Were you deposed on it?
22 testimony? 22 A. No.
23. A. That was the trial testimony. 23... Q. Have you ever had the scope of your
24 Q._ What was the topic? 24 testimony limited by a court?
25 A. It was appropriateness of a DIP 25. A... Not to my knowledge.

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1 MICHAEL HENKIN 1 MICHAEL HENKIN

2 financing process and the criticisms that | had 2  Q. Page 51 of your report contains a copy

3 with respect to the debtors’ managing of a 3. of your CV, correct?

4 financing and M&A process in the case. 4. A. Yes.

5 Q. So you reviewed the process that the 5 Q. Isit accurate?

6 debtors used in attempting to secure financing 6 A. Yes.

7 and provided expert opinions as it relates to 7 Q. Is there anything you need to update

8 whether it was appropriate? 8 regarding that report -- in your CV?

9 A. Correct. 9 A. No.
10° Q. Were you certified as an expert by the 10 Q. Do you have any training that's not
11. court in that case? 11 listed on this CV?

12 A. Yes, | believe so. 12. A. No.

13 .-Q._ And what was the scope of the 13. -Q. Any certifications you received that
14 certification? 14. are not listed on the CV?

15 15 A. Not related to finance or investment
16 | 16° banking.

17 17 Q. Any peer-reviewed publications?
18 18 A. No.

19 19 Q. Have you ever published at all ina

20 N 20 peer-reviewed setting?

21. Q. It-may have included M&A? 21 A. Notin a peer-reviewed setting, no.

22. =A. Itmay have included M&A. | don't 22 Q. And have you had any of your writings
3 recall the exact language of the expert 23. accepted in a scholarly journal or publication?
4 certification. 24 A. No.

25 Q. Sois there a transcript of both the 25 Q. Inthe documents you reviewed, you

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1 MICHAEL HENKIN 14
2  Q. And you're not providing -- to use | 2
3 your words, you're not providing:a full 3. Q. Sir, do you consider yourself an
© 4 valuation analysis of TCEH, correct? 4 expert in the energy industry? .
©. A, That's correct. | 5S - AL No.
6 .Q. And sir, you're not providing any 6 Q. Doyou consider yourself an expert on
7 opinions regarding the sales process that the 7 the ability to forecast natural gas prices in
8 debtors performed? 8. the future? ,
9 A. No: 9 A. No.
10. Q. And sir, you're not opining on any 10 Q.. And do you consider yourself an expert
11 aspect of the bidding procedures or the auction 11 on the ability to forecast power prices in the
12 that was canceled, correct? 12 future?
13. _A.. That's correct. 13. A. No.

14 Q. So the merger agreement contemplates 14. Q. And have you ever evaluated the
15. certain regulatory approvals, and you note that 15. fundamental factors that go into projecting

16 in your report? 16 prices for power in the ERCOT market?

17 A... Correct. Yes. 17 MR. HARDIMAN: Object to the form.

18 Q. But you're not providing any opinion 18 A. |have reviewed a lot of documents

19 regarding whether the debtors and the proposed § 19 that the debtors have generated with respect to
20 buyers will achieve regulatory approval? 20 the forecasts, but your question was have |

21 +A. _Notwith respect to any individual 21 looked at the underlying factors that go

22 component of the conditionality, which would 22 undemeath the forecasts, and {'m generally

23 23 aware what they are, but | haven't done an
24 analysis of that in this case.
25. Q. And there are separate energy industry

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1 MICHAEL HENKIN
2 bankers at Guggenheim that the committee relies
3 on to provide them expert opinions regarding
4 those issues?
5 A. We do have a separate energy team. |
6 don't know if they have ever provided a formal
7 expert opinion to the committee, but they do
8 advise the committee and our clients on
9 industry-related issues.
10. Q. And that separate energy team provides
11 advisory services to the committee regarding the
12 energy issues specific to this case, correct?
13 A. Yes, in connection with my team as
14 well. We work together.
15 Q.. And did you rely on them in any way in
16 forming the opinions that are contained in your
17. expert report?
18 A. Notin this report, no.
19 Q. Let's talk about the opinions
20 contained in your report.
21. A. Actually,.| want to amend that answer.
22 I did rely on my energy team to help
23 put together the analysis of the utility M&A
| 24 transactions that are contained in Opinion 1.
25  Q. They helped to identify those

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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 transactions? 2 MR. McKANE: My apologies.
@ 3. A. They helped to identify those 3 MR. HARDIMAN: Ihave already asked
4 transactions and helped to pull some of the 4 _ the witness.
5 information with respect to those, those deals. 5  Q. Against whom does the buyer have the
6 Q. So you relied on members of your 6 specific. performance remedies?

7 energy team to review the merger agreements that 7 A. 1 believe they have them against the
8 are contained in Exhibit 2 of your expert in thi
9 report?
10 A. Actually, my team reviewed the merger
11 agreements. Their team did a screening to

12 identify the last five years’ billion and above 12 dransactions of this type, ye
13 M&A transactions in the power and energy sector, 13. .Q. And specifically for transactions of
14 and then we took over the responsibility of 14 this type, what type of transaction are you
15. reviewing the - my team, my restructuring team, | 15 referring to?
16 of reviewing the actual agreements. 16 A. __I'mreferring to large -~ and that can
17 MR. HARDIMAN: Mr. Henkin, make sure 17 be defined as either above $500 million in value
18 you let Mr. McKane finish his question 18 or above a billion — there's a couple different
19 before you begin to answer. I'm sure ‘he'll 19 screens — some use the 500 and some use the
20 give you the same courtesy. 20 billion — merger and acquisition transactions
21 BY MR. McKANE: 21 within the last five years.
22 Q. The energy team helped cull the set 22 Q. And that's the universe against which
23 and then your team reviewed the merger 23 you are comparing this transaction, correct?
24 agreements themselves; is that fair? 24 A. Yes.
25 A. Yes. 25. Q. Now, in paragraph 40, you say that,
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 Q._ Now, the merger agreement does not 2 typically, M&A agreements contain specific
3 contain a specific performance remedy; is that 3 performance provisions, correct?
4 correct? 4 A. Yes.
5 A. The merger agreement for? 5  Q. And as your source for that statement,
6 Q. So the merger agreement that is part 6 you cite footnote 24, correct?
7 of the overall plan of reorganization that's 7 A. Yes.
8 proposed for these debtors does not contain a 8 Q.. And footnote 24 is a Law Review
9. specific performance remedy, correct? 9 article from the Vanderbilt Law Review, correct?
10. A.~ In favor of the sellers, that is 10 A. Yes.
11 correct. 11 Q. -And that Law Review article cites a
12 Q. In favor of the sellers. 12 2008 study of large strategic acquisitions,
13 What specific performance remedies 13 correct?
14 exist in the merger agreement and related 14. A. Yes.
15 documents? 15 Q. The universe that was the source of
16 A... | believe there are specific 16 that Law Review article were strategic
17 performance provisions provided in favor of the 17. acquisitions, correct?
18. buyers or the purchasers but that there's a 18 <A. Ithink so, yes.
19 specific clause that's referenced in my report, 19. Q. Whatis a strategic acquisition?
20 | think it's paragraph 29, that disclaims any 20 A. Generally, that is a transaction where
21 specific performance obligations on behalf of 21 acorporation is purchasing a business rather
22 the sellers against the — against the 22 than a financial buyer. So it's a company
@. purchasers. 23 that's usually in the same industry or related
24 MR. HARDIMAN: Again, Mr. McKane, if 24 industry.
25. you would let him finish, too. 25 Q. Soa strategic acquisition is when a

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MICHAEL HENKIN
Q. And you would agree this is not a
strategic acquisition?
A. | wouldn't categorize it as a

Strategic acquisition, no.
Q. Now, on page 20 of your report,
Exhibit 4, you have a series of pie charts,
correct?.

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MICHAEL HENKIN

A.._| did read the report, and | recall
that there were some description of the types of
circumstances that might arise. | also looked
at the specific performance for the acquisition.
of the predecessor of EFH, TXU, and that was a
limited specific performance remedy, as |
recail.

Q. One example in which a limited
specific performance provision would not apply

=
80 CM OD, CPB ON

11 is if the closing conditions are not met, right?
12. A. _I think that's right.
13. Q. And another example where a limited
14 specific performance provision would not apply
15. is if the debt financing did not materialize?
16 MR. HARDIMAN: Object again to the
17. extent it's calling for a legal conclusion.
18 You can answer.
19 A. {don't recall if financing was carved
20 out of limited or not. It might have been.
o Bo 21. _Q. And your analysis doesn't different --
22. Q. And Schulte Roth drew a distinction 22 other than acknowledging the distinction drawn
23. between full specific performance and limited 23 by Schulte Roth, your analysis doesn't
24 specific performance, do you see that? 24 distinguish between the two variations of
25 A. Ido. 25 specific performance, right?
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 Q. What's the difference? 2 A... The analysis that we did on Exhibits 2
3. A.. I believe that the limited specific 3. and 3 does not, correct.
4 performance had various limitations, as thename 4 Q._ Let's look at Exhibit 2:
5 would imply, where there were only certain 5 A. Okay.
6 circumstances by which limited -- the specific 6 Q.. These are power and utility industry
7. performance was available. 7 M&A transactions, correct?
8 Q. Can you give me an example of a 8 A. That's correct:
9 limited specific performance provision? 9  Q. None of these companies are in
10 A. That would be an example where only 10 bankruptcy, correct?
11 under certain types of breaches could specific 11. A. I don't think so.
12 performance be pursued and that others other (12  Q. And you familiarized yourself with all
13. types of breaches would not have that remedy 13 of these transactions to prepare this exhibit,
14 available. 14 correct?
15. Q... And sir, youand your team performed 15
16 no analysis to differentiate between which 16
17 transactions contained full specific performance 17
18 provisions and those that provided limited 18
19 specific performance provisions? 19
20 A. No. 20
21. Q. You relied solely on the work by 21
22 Schulte Roth? 22
@~ A. _ For this part of it, yes. 23°
24 Q. And you had no visibility into how 24 QQ. You can't, looking at them, you can't

25 they drew that distinction?

25 tell me.which ones are strategic and which ones

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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 approvals, correct? 2 circumstances and the -- the specific
@ 3 MR: HARDIMAN: Object to form. 3. transaction.
4 A. | would need to check the agreements, 4 Q.. Would you expect that to be an
5 but that would sound reasonable. 5: imbalance of risk allocation between the seller
6 Q.. And you would expect that to be true 6 and the buyer to the extent that the seller ina
7 for any remedy; that the seller would attempt to 7 Chapter 11 restructuring is attempting to
8 assert regarding the buyer's obligation to close 8 maintain a full fiduciary out, while insisting
9 regarding the need for the seller to obtain 9 that the buyer commits a specific performance?
10 regulatory approval, correct? 10. A. Not necessarily, because | think it's
11 MR. HARDIMAN: Object again. | think 11 generally accepted that debtors in Chapter 11
12. it calls for a legal conclusion, but you can 12 need to preserve a fiduciary out because of the
13° answer. 13. court-overseeing nature of the process, and
14 A. That's what | would expect: 14 buyers typically acknowledge that and may sign

15. Q. And Exhibit 3 provides an analysis of
16. restructuring transactions in the last few
years, correct?

up for specific performance obligations
notwithstanding the fiduciary out rights and
often negotiate a break fee or some other

18 _A._ Yes, the last five years protections to give them a compensation if that

19 ic happens.

20 Q. Right. So, to evaluate the

21 transaction, you have to look beyond just the

22 remedies available to the seller and look at all

23 of the terms of the transaction; do you agree

24 with that?

25 { A. To evaluate an entire transaction, you
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| MICHAEL HENKIN l MICHAEL HENKIN

1 1
2  Q.. This concept of asymmetrical risk ina 2 would want to look at all the terms, but the

3 merger transaction, would you think -- 3 purpose of this was to focus in on remedies as
4 Let me step back. You've been a 4 the one, you know, missing element of the

5 restructuring professional for how long? 5 transaction to try to understand what remedies
6 A. Twenty years. 6. were available.
7. Q. How many transactions have you worked 7 Q._ Right. You're only providing an
8 8
9

on negotiating plans of reorganizations or sales opinion as to the one term in the merger

and mergers.in the restructuring context? 9 agreements, the remedies available to the seller

10. A; Overten. 10. under certain conditions, correct?

11. .Q... And in your experience, not just on 11. A. The opinion relates to the remedies,
/12 the deals you have worked on, but you have been 12 yes.

13 able to consult and inform yourself as to the 13... Q. You look to solely the remedies

14 market trends in restructuring industry 14 available in the merger agreement, not other

15. regarding plans of reorganization, sales 15 benefits that the seller obtains. that are

16 agreements and merger agreements? 16. outside the merger agreement, correct?

17 MR. HARDIMAN: Object to the form. 17 MR. HARDIMAN: Object to the form.

18. A. Yes. 18. You're asking him whether his opinion goes
19. Q. Sir, based on all of your experience, 19 to whether there were other benefits

20 do you think it is difficult for a seller, who 20. = obtained?

21 is a debtor in a Chapter 11 reorganization, to 21. Q. You can answer.

22 maintain a full fiduciary out for its protection 22 MR. HARDIMAN: Is that the question?

@ while at the same time attempting to get 23. A. We focused on the remedies in the

24 specific performance from a buyer? 24 merger agreement, although | wasn't aware of any
25. A. I think it depends on the 25 other remedies that existed beyond the merger

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MICHAEL HENKIN

Q. And the only club deals are the
Chatham Lodging acquisition of Inkeepers, right?
That was a Cerberus deal?

A. | believe so, yes.

Q. And the only other club deals were the
Fairholme Capital acquisition of GGP; that was a
club deal?

A. [don't recall.

Q.. And do you know whether the CP ESH
Investors’ acquisition of Extended Stay was a
club deal?

e

0.0 SO on & who

13. A. I believe it was, yes.

14. Q._ In evaluating the financial

15 transactions, you identified specific

16 performance as not being obtained in the MSR
17 acquisition, correct?

18 A. Yes.

19 Q. And in the Inkeepers acquisition --

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4 MICHAEL HENKIN
2 multiple obligations. But 1 don't know if
3 there's anything unique about specific
4 performance as far as the length of time the
5 deal might take to close.
6 Q._ Soit's fair to say that the duration
7 of time that a transaction may take to close is
8 a factor in the buyer's willingness to commit to
9 certain provisions, including, potentially,
10 certain remedies?

11. A. $ Yes:
12 MR. HARDIMAN: Object to the form.
13° A. Yes.
14 Q. And sometimes that, you know, that

15. notion of the time, the duration of time between
16 announcing the deal and closing the deal, do you
17 understand what I'm referring to if | refer to

18 that as the “hold period"?

19 A. Yes.

20 Q. Because the buyer at that point has

21 announced a deal, they're out, they're exposed,
22 they have committed to the obligation, and then
23 they have to face whatever consequences can be
24 imposed upon them based on those remedies,
25 .correct?

ON Oo fh ON a

Q. What is the potential -- let me ask
9 you this: The ability of a buyer -- step:-back:
10 The willingness of a buyer to agree to
11 specific performance is -- you've evaluated that
12 in your experience, right? You've had to
13. negotiate for specific performance in your
14 career, right?
15 A. Yes. As part of an overall deal, yes.
16 Q._ In your experience, is a buyer -- is
17 the duration of time between the commitment to
18 buy and the closing of the deal, that period of
19. time, a factor in the buyer's willingness to
20 commit to specific performance?
21. A. | don't know if it -- if it's a factor
22 limited to specific performance. It's certainly
23 a factor that a buyer will take into account as
24 far as the duration of their commitment, and it
25 will affect their willingness to sign up for

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1 MICHAEL HENKIN
2 A. Correct. |
3. Q.__And what is the potential hold period

4 between the announcement of this transaction and
5. the merger agreement and the outermost date in
6 which this transaction can close?
7 A. Jthink it's about a year.
8 Q. Well, it was announced on August 9,
9 correct?
10° A. Correct:
11. Q.. And through extensions, it can close
12 November 1 of 2016, correct?
13. A. That's my understanding, although |
14 know the debtors said that August 31 was the
15 outside date. So there may be a difference in
16 between August 31 and November that we tried to
17 identify how to reconcile that, and we cite
18 November in our report.
19  Q. Exactly right. So let's just be
20 precise about that for the transcript.

21 Your report cites November 1 —
22. A. Correct.
23 Q. —as the outer pointin time, and the

24 debtors contend that it's August 31, right?
25 <A. Correct.

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4 MICHAEL HENKIN
2 because of the disputed claims change.
3. .Q. And it's possible that the debtors can
4 emerge by March 31 if the plan is confirmed and
5 the regulatory approvals are obtained by then,
6 correct?
7 A. I think it is theoretically possible
& that they could emerge earlier, although | think
9 it's unlikely.
10 Q.. And you base that based on your
11 experience in obtaining regulatory approvals?
12°. A. Based on my review of the PUCT setting

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13. some hearings the end of March and the knowledge13

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4

2

4 MR. McKANE: Let's mark this as Henkin

5. 8.

6 (Henkin Exhibit 8, Presentation to the

7 Boards of Directors and Managers of Energy

8 Future Holdings Corp., Energy Future

9 . Competitive Holdings Company LLC, Texas:
10. Competitive Electric Holdings Company LLC,
11. TCEH Finance, Inc., Energy Future
12 Intermediate Holding Company LLC, and EFIH

Finance Inc., Approval of Amended Plan and

evaluation of the debtors to consider about the
benefits of the transaction versus the risks
associated with it?

MR. HARDIMAN: Object to the form.

;, that's a

14 that there's going to bea series of steps even 14 Merger Transaction Documents dated August 9,
15 after the regulatory approval is obtained to 15° 2015, marked for identification, as of this
16. actually emerge and get an emergence. from 16 date.)
17. bankruptcy. 17 BY MR. McKANE:
18 Q. But with the 3/31 emergence date 18 Q. Doyou have Henkin 8 in front of you?
19 assumption, you have no reason to believe that 19 A. Ido.
20 the calculation of the implied enterprise value 20 Q.. For the record, Henkin 8 is a
21 is different than what the debtors presented to 21 presentation to the boards of directors of EFH
22 their boards; correct? 22 and its subsidiaries entitled Approval of
23. A. Correct. 23 Amended Pian and Merger Transaction Documents.
24 Q. And you said in reaching your opinions 24 Do you see that?
25. contained in your expert report that you 25 A. Yes.
Page 162 Page 164
1 MICHAEL HENKIN 4 MICHAEL HENKIN
2 evaluated the August 9 presentation to the 2. Q._ Sir, this is the presentation you
3. boards of directors? 3 reviewed in forming your opinions?
4 A. Idid. 4 A. Yes. One of the presentations |
5 Q. And in that August 9 presentation, the 5 reviewed, yes.
6 debtors described the boards' consideration as 6 Q.. And let's go to the Recommendations
7 an essential tradeoff between the conditionality 7 page, Bates number ending in 935.
8 of the merger agreement and the benefits to the 8 A. Okay.
9 estate provided by the merger transaction, 9 Q. The board of directors basically
10° correct? 10 evaluated the risks and benefits associated with
11 MR. HARDIMAN: Objection to form. 11 the merger transaction, do you agree with that?
12 A. | recall disarmament being used as the 12 A. Yes.
13 benefits, but yes, | think that's the gist of 13 MR. HARDIMAN: Do you agree with what,
14 their presentation, the conditionality and risks 14 that that's what the document says?
15 associated with the deal and the potential __ 15 Q. Do you agree that that's what they
16 benefits that the estate might have by virtue of 16 did?
17 disarmament. 17 MR. HARDIMAN: How does he know what
18 Q. Well, and you have no opinion as to 18 they did?
19 whether that was appropriate or inappropriate 19 A. | agree that's what is contained in

20 this document that was presented to the board.
21. Q. And you have no reason to believe that
22 the board considered anything else or did

23 anything different, right?

24 A. Idon't know. | wasn't there.

25. Q. So, in evaluating the transaction, all

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1 MICHAEL HENKIN

2°. asked about.

3 MR. McKANE: It's very little that you

© 4 donot have.

5 MR. HARDIMAN: But that was an

6. issue — remember | asked that at the

7. depositions of certain people on your side,

8 | andl asked --

9 MR. McKANE: Do you really want to do
10 this_on the record?
11 MR. HARDIMAN: No, I don't.
12 (Discussion off the record.)
43 MR. McKANE: On the record, I'm very
14° confident you have it, and in fact, it was
15. _ filed. It's Docket No. 5248.

16 MR. HARDIMAN: | accept your

17 . representation.

18 BY MR. McKANE:

19. Q. You just described the merger as akin

_| 20. to an option, right?

21 A. Yes.

22 Q. What does “akin mean?

23. A. It means itis similar to or

24 structured in a manner that resembles an option.
25 Q. What type of option?

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-23 next paragraph. Let's take a look.

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analogous type of option is a real option," the —
most similar and analogous to what?
A. To the merger and purchase agreement.
Q. Allright. So you're evaluating this
merger and purchase agreement to this definition
of a real option?
A. Correct.
Q. And where is this definition
10 contained?
11. A. There are several academics that have
12 published papers around real options. There's a
13 footnote in my report that | could find for you
14 that actually contains the definition.
15. Q.. Please do.
16 Is it page 21, paragraph 33?
17 MR. RUEGGER: Footnote.
18° Q. Sorry. Page 21, footnote 33?
19 A. Yes, it may be. | think maybe the
20 definition is in the actual paragraph. Let's
21 see.
22 It may be on footnote — maybe in the

Owen oO oO & ON

24 Q._ Just let me know when you find the
25 definition of "real option” that's contained in

MICHAEL HENKIN
A. Areal option.
Q. And what does a “real option" mean?
A. Areal option is an analogy between
5. buying a company or buying a business or a
6 real-world transaction and an options contract
7 that is a contract fo purchase a security that
8 we typically think of when we think of options
9 contracts.
10 So real options expands the concept of
11 .an option to apply to real-world transactions,
12 and | think | cited a footnote and a definition
13 in the footnote in my report that this
14 acquisition agreement is akin to an option, but
15. it's more like a real option because it's an
16 agreement to buy a company.
17... Q. Albright. So your analogy is not to
18 an option in the securities world, but to the
19 concept and the expansion of the idea of an
20 option to real-world scenarios beyond the
21 securities world; is that.a fair statement?
22. A. Yes. Although you can still look at a
@: security and find parallels, the most similar
24. and analogous type of option is a real option.
25. Q... When you say “the most similar and

ON We

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MICHAEL HENKIN
your-expert report.
A: It's footnote 36 on page 22.
Q.. Footnote 36 states, "A corporate
investment opportunity is like a call option
when it provides the right (but not the
obligation) to acquire, (buy or build or expand)
something, such as a business or asset."
A... Correct, and that is a “real option"
definition right there in footnote 36:. It
references an article or a paper from Harvard
Business Review called "Real-World Way to Manage
Real Options."
-.Q.._Inan option, the purchasers have the
exclusive right to acquire the asset, correct?
A. There are non-exclusive options, but
generally when you're talking about options,
it's an exclusive right, correct.

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Q. And you would agree with me that in an
option, a real option, the seller is obligated
to sell the asset?

A: Ina real option, again, there could
be other aspects to an investment opportunity,
suchas a fiduciary out or other things, that
could impose some conditions or issues that
aren't hundred percent certainty that you have
the right to buy it.

Q. So let's step back a second. In the
security world, when you create an option, the
acquirer of the option owns the right and the
seller can't recall that right without buying
back the option, correct?

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19. A.. That's generally the case, yes.

20. Q. And in this expansion of the idea of
21- an option to this concept of a real option that
22 you're relying on --

23.2 A. SOYes.z

24. Q. -- you have tried to provide for the
25 ability to acquire the option but add the

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“EO OB ON om

12. Q. And even in the real-world option or

13 the real option expansion that you are relying
14 on, the real-world option provides an exclusive
15 right to th chaser?

18 "exclusive" because the PSA basically gives the
19 purchasers the exclusive right to pursue this

20 acquisition for some period of time, subject to
21 all the terms and conditions that are contained
22 in those agreements.

23 Q.. Can you identify for me a real-world

24 option with a non-inclusive right that you have
25. experienced in your profession?

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additional complexity of acquiring something
like a corporation as opposed to an underlying
security, correct?

A. Yes.

Q. And-so when you say it's akin to it,
it's because the complexity and -- let me state
it again.

So when you say in your opinion that
this transaction is akin to a real-world option,
it's an attempt to incorporate the complexity
associated with this M&A transaction?

ay

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MICHAEL HENKIN

1
2
4 Other people can buy the same asset at the same
5 time. You have to basically exercise it quickly
6 enough to get the asset.
7 Q. Right. So sitting here today, based
8 on your experience as an investment banker, you
9 can't identify a non-inclusive real-world option

10 because exactly for that reason: ‘There's

11 little, if any, value to a non-exclusive real
12. option?

13 MR. HARDIMAN: Object to the form.
14 Maybe you want to break that question
15. down.

16 A. | would need to think about examples

17 of non-exclusive real-world options, but | agree
18 with the premise that there's little value to.a

.

(Recess; Time Noted: 11:22.a.m.}
(Time Noted: 11:34 a.m.)

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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 BY MR. McKANE: 2. consistent with large bankruptcy sale
@ 3° Q. Mr. Henkin, | apologize, I've got to 3 transactions to financial buyers?
4 double-back on Exhibit 3. 4 A. It would be:more consistent, although
5 A. Okay. 5 I note that specific performance is in almost
6 Q.. That's your presentation of 6 all of these cases as well. So it would still
7 restructuring transactions. 7 have this lack of specific performance element
8 A. Yes. 8 to it, but it would be more consistent.
9  Q.. Are you there, sir? 9  Q.. And specifically with regards to the
10 10 lack of specific performance, if you evaluate
11 11. just the financial transactions, half of them
12 12 don't have specific performance?
13 13° A. Okay. I'll take your word for it
14 14 based on the categorization that we did earlier.
15 15. Q. Right. So specific performance is
16 16 less likely to be available to a seller to a
17 17 financial buyer than, based on your analysis,
18 18 than it would be against a strategic buyer?
19 19 MR. HARDIMAN: Object to the form.
20 20 A. Because the only two that don't have

< mt part of the analysis, no. 21 specific performance are financial buyers in
22 Q._ Sir, with regards to the pending 22 these analyses, yes.

23 merger agreement, if all else remained the same 23  Q. And in both of those circumstances,
24 and that merger agreement contained areverse | 24 you don't even evaluate against the party

25 termination fee, would that reverse -- would 25 against whom you can assert that specific
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 that merger agreement be consistent with large 2 performance, right?
3 bankruptcy sales to financial buyers? 3. A. That's correct, we didn't.
4 A... That would-be the sole remedy? 4 Q. And so even when there was specific
5 Q. That would be the sole remedy. 5 performance, there may be marginal value to that
6 .A. Would it be consistent with all the 6 specific performance because it's against the
7 deals that we have analyzed here? 7 shell entity?
8 Q. No, my question is - if the merger 8 MR. HARDIMAN: Objection to the form.
9 agreement — I'll use the NextEra bid. 9 I think it calls for a legal conclusion.
10 You said the NextEra reverse 10. A.. To the extent that there is an
11 termination fee was approximately 150 to 200 11 inability to collect on the specific
12 million dollars; something in that range? 12 performance, it may have less value, but | would
13 MR. HARDIMAN: | actually don't think 13 need to look at the agreements to make an
14. he ever accepted that. 14 opinion on it
15 MR. McKANE: | thought that he did. 15
16 A. I think | said it was around $200 16
17 million. 17
18. Q, Around $200 million. I'm going to use 18
19 your number. 19
20 So, assuming the merger agreement is 20
21 exactly the same but it contained a reverse 21
22 termination fee of $200 million - 22 others as well; yes
@ A. Okay. 23  .Q. And what were those other protections?
24 Q. -- available to the seller, with that 24 A. The various forms of damages that
25. one change, would the merger agreement be 25 we're talking about here. Not only the reverse

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2 the event that they were called upon to forfeit 2. -you wouldn't have the buyer being able to
3 it or they breached the agreement later. 3 trigger the break fee by saying, I'm not
@ 4 @.. Right. So it only arises in the 4 going to close, pay me a break fee. So, in
5 circumstance in which they don't close and the 5 that respect, there is a difference between
6 other conditions are met? 6. how you're describing these other merger
7  A.. Inthe case of some of those remedies, 7 agreements and how you're describing this
8 yes. 8. -merger and purchase agreement.
9 Q. Solet's do it -- let's break it down 9 BY MR. McKANE:
10. one-by-one. 10. Q. Solet's be precise. I'm asking you
11 So the remedy for a reverse 11 about the remedies and liquidated damages -- not
12 termination fee would only arise if the buyers 12 in this transaction, right, because there are no
13 don't close and the conditions to enforce that 13. remedies or liquidated damages.
14 remedy are met, correct? 14. A. Right.
15 A. That's correct. 15 Q.. I'm talking about, generally, when
16. Q. And aremedy of liquidated damages 16 those actually arise, and are they, you know,
17 would only arise in the buyers don't close and 17 are they committed to-at the time of the merger
18 the conditions necessary to enforce that remedy | 18 agreement. Right? They're committed to at that
19 are met, correct? 19 time. The debtors -- strike that.
20. A... Yes, that's correct, although | will 20 The buyer signs onto the obligation to
21 point out the circumstances by which those fees 21 pay liquidated damages or a reverse termination
22 are payable in these other transactions are 22 fee or forfeit the deposit at the time of entry
23 generally not controllable by the buyer as far 23 of the agreement, correct?
24 as -- the buyer can control whether they close 24. A... That is correct.
25 or not, but in this case, there's a fee that's 25. Q._ And to the extent that they elect not
@ Page 186 Page 188
1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 payable to the buyers and the buyers choose not 2 to close because they do not believe that
3 to close. So if we're talking about the 550 3 closing isin their economic interest, they
4 payment -- 4 control whether they're going to have to pay any
5 Q. I'mnot at the 550 payment yet. None 5 one of those potential remedies, correct?
6 of my questions have anything to do with the 6 A. That's generally true, yes.
7 550. 7 Q. Now, in your opinion you note that, in
8 MR. HARDIMAN: Are you finished answer 8 _ an altemative restructuring, the junior
9 — the question? 9 creditors of TCEH would receive a payment of
10 THE WITNESS: | wasn't because | was 10 $550 million, right?
11 going to go to the 550 as one of the 11. A. Yes.
12 .. elements of the settlement agreement. 12  Q. Now, that is true -- that is one piece.
13 MR. HARDIMAN: Go ahead. - | 13 of the settlement consideration, correct?
14 THE WITNESS: Which is you're talking 14. A. Yes.
15 about the consideration that was providedas (15 QQ. There are other pieces of the
16 part of the settlement agreement. The 16 settlement consideration as well, correct?
17. consideration that goes in favor of the
18. purchasers or a subset of the purchasers,
19 which are the ones that are creditors that
20 ~~ are receiving the 550, they, as buyers, have
21 _ the right to say we're not going to close
22. ~- and we're going to receive this payment.
@: Whereas, in a typical merger
24 agreement, if you had a reverse -- a break
25 fee, for instance, not a reverse break fee,

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Q. And when you referred to disarmament
6 and drag as non-financial elements, are you
7. suggesting that they cannot be converted to
8 dollars?
9 A... It's very difficult to convert the
10. concept of the drag right to a dollar value.
11. Q. You couldn't determine the cost of
12 maintaining these cases for a month? Isn't
13 there a burn rate just for the existence of the

14 EFH bankruptcy that is quantifiable?
15 A. Yes.
16 Q. And that would be, to the extent that

17 drag right would accelerate the final conclusion
18 of these cases, you could quantify that based on
19 the burn rate, correct?

20 = A.._If you could draw a direct correlation

21. between an extension of the case or a shortening
22 of the case and having the drag right, yes.

23. Q._ Isn'tit true in an alternative

24 restructuring the buyers, including the TCEH

25 junior creditors, are committed to a

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1 MICHAEL HENKIN
2 literature around sunk costs and some of the ~
3 my experience as a banker in knowing the
4 incentives that exist when a party has given
5 something up and then makes a subsequent
6 decision, does what they have given up affect
7 their subsequent decision, and that's really how
8 1 based my opinion.
9 ~ Q._ Right. And so you based your opinion
10 based on your experience as a banker, your
11 understanding of what a concept of a sunk cost
12 was based on your general reading of literature
13 on economic decision-making?
14. A. Yes. And my experience, yes.
15 Q.. And did the fact that the perceived
16 sunk costs would not arise in a scenario other
17 than when the buyers refuse to close, was that a
18 factor in your evaluation in your use of that
19. language?
20 A. | evaluated this transaction
21 specifically, which includes that concept, that
22 these costs are incurred regardless of whether
23 the transaction closes or not. Your point, |
24 think you're making, is there is no cost if the
25 transaction closes because the claims that have

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1 MICHAEL HENKIN
2 file-to-trial time period of 90 days?
3. A. Yes.
4 Q. Isa 90-day time period between filing

5 a plan of reorganization and obtaining an order
6 confirming that plan of reorganization in a case
7 like EFH an extraordinarily short period of
8 time?
9 MR. HARDIMAN: Object to the form.
10° A. | wouldn't say extraordinarily because
11 of the fact that we're going to go through one
12 confirmation hearing already. 1 think it will
13 be an accelerated process by virtue of having
14 gone through and failed one plan confirmation.
15. It's usually faster the second time around.
16 Q.. Butinacase ofthis size and
17 complexity, including what could potentially be
18 a valuation fight on the E-side, is a 90-day
19 period between filing a plan and confirmation of
20 aplan short?
21. A. It's relatively short, yes.
22. Q. What methodology did you use to

@. determine whether the settlement consideration

24 was a sunk cost?

25 A... | looked at some of the academic

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1 MICHAEL HENKIN
2 been given up are given up because you bought
3 the company.
4 We look at it a little differently,

5 where we say the settlement gives certain

6 releases and gives up certain claims, gives

7 certain benefits, and that happens irrespective

8 of whether the transaction closes; and if the

9 transaction closes, there happens to be no value
10 to those claims because the company is exiting
11 bankruptcy.
12 If the transaction doesn't close, then
13 those claims are also gone and there's a payment
14 and some additional provisions related to what
15 the TCEH junior creditors can or can't do as
16 part of the restructuring process.
17° Q. . So, as | understand what you have just
18 said, the way that you have evaluated the value
19 of the claims depends on whether the debtor
20 emerges from bankruptcy, because if the debtors
21 emerge under this transaction, there is no value
22 to those claims; is that correct?
23 A... Because they're being given up,
24 correct. | mean, whether they had value or not,
25 they are being given up when the settlement

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here.

Q. In Opinion 3, you Say it's a sunk
cost, and it's only a sunk cost based on — even
if we adopt your analysis, it's only a sunk cost
at that point in time where the judge enters the
order?

A. That is correct, yes. And because
they're bifurcated, we look at it as a sunk
cost.

Q. Right.

What closing conditions must the

debtors satisfy before they can assert

CO COON Coon wD:

14 disarmament and drag? 14 agreement.
15. A. The closing conditions that the 15... Q. And both disarmament and drag apply in
16 debtors need? 16 all restructuring scenarios other than the

Q. Right. Are there any obligations the
debtors have to satisfy before they can assert
disarmament and drag?

A. | believe there is a definition of
alternative restructuring that needs to be

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1 MICHAEL HENKIN
2 altemative restructuring as long as we Satisfy
3 the alternative restructuring conditions;
4 correct?
5 A. The drag right is a contingent
6 obligation that triggers if the deal doesn't
close,

Q: And you agree, therefore, it is not a
sunk cost even upon settlement agreement
approval?

A. Yes, the drag right is a different
type of right than the consideration that's been
given up regardless under the settlement

merger agreement so long as the debtors put
forward an alternative restructuring as defined
in the plan support agreement?

A. Again, my understanding is
disarmament, meaning the release of claims,

22 complied with in order to assert the disarmament | 22 happens regardless of whether they propose an
23 and drag — or, in order to assert the drag 23 alternative restructuring. The drag, as |
24 rights. 24 understand it, has some limitations, so that it
25 The disarmament, | think, again, is 25 kind of constrains the value of the drag in that
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 granted upon the settlement agreement, but the 2 respect because it needs to comply with the
3. drag has certain terms that need to be complied 3 definition of alternative restructuring, capital

4 with.

5  Q. Right. So, to the extent that

6. disarmament has value, the debtors obtain that

7 value regardless of the form of the alternative

8 restructuring?

9 A
10.
11
12
13
14
15
16
17

Q. Right. But based.on your own
24 testimony, drag is not a sunk cost; drag only

25 arises, based on what you have testified, in an

11_ of circumstances that trigger those rights.

. 15 remedies that you identified in Opinion 1?

20 that it's bifurcated. My view is that there's a
21 separate, independent approval of this

22. disarmament that has no ties to whether the
23 transaction closes or not, and then there are

25 transaction doesn't close.

4 A, capital R.
5 Q._ And in evaluating the value of
6 disarmament and drag, the debtors don't have to
¢ satisfy the type of closing conditions that they
8 would need to satisfy to enforce the remedies
9 that you have identified in your first opinion?
10. A... That's'true. There is a different set

12  Q. And in fact, the ability to assert
13. disarmament and drag is broader and applies in
14 more scenarios than the ability to assert the

6 MR. HARDIMAN: Object-to the form.

17 A. | don't think they're necessarily

18 comparable as far as remedies in the merger and
9 purchase agreement, again, because of the fact

24 some elements that are triggered if the

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MICHAEL HENKIN
a portion of it is going to non-participating.
Although there is a rights offering and that
might have a high participation rate.

Q. Even if we were to assume that the 550
goes to the consortium as a whole, and it only
goes to the consortium as a whole after
Satisfying professional fees, right?

A. | think the 550 is a carve-out of
collateral and a first-out payment. I'm not
sure that there is any deducts to the 550 with
respect to professional fees.

Q. Isn't it true that in the settlement
agreement there is a providing that the parties
will be able to pay up to $49.75 million in
professional fees, and that in an alternative
restructuring scenario that $49.75 million comes
out of the 550?

A. . | would need to. review the agreement
to confirm that. Are you referring to the
expense reimbursement provision as far as the
purchase agreement? Are you just talking about
the 550 as an expense reduction?

Q.._ I'll show you the merger agreement and
let you look at it, but it's a straight deduct

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1 MICHAEL HENKIN
2 the Plan does not occur."
3. A. l|seeit.
4  Q. Doyou see that, sir?
5 A. Ido.
6  @Q. And then just down below in that same
7 paragraph.
8 A. Okay.
9 QQ. It's seven lines down.
10 A. I see it.
11 Q. It says, "The settling TCEH Unsecured

12 Noteholders, Settling TCEH Second Lien

13 Noteholders and the TCEH Official Committee
14 agreed that,” and then you go down to (x), “the
15 Professional Fees of the TCEH Unsecured Group
16 and TCEH Second Lien Group,” and then you go
17: down to number (2).

18 A. Yes.

19. Q. . "Shall reduce pro rata the

20 distributions to all holders." See that, sir?

21 A. Yes, ido.

22 Q.. Allright. And then I see in (y),

23. “The Professional Fees of the TCEH Unsecured
24 Group and TCEH Unsecured Notes Trustee also
25. shall reduce pro rata the distribution to

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MICHAEL HENKIN
in an alternative restructuring scenario.
A. Okay.

(Henkin Exhibit 9, a document entitled
Exhibit A (Revised Settlement Agreement),
marked for identification, as of this date.)

BY MR. McKANE:

Q.. Mr. Henkin, I'll do this as a
refreshing of recollection. I'll direct you to
Section 2.7, Payment of Certain Fees and
Expenses, 2.7(a).

A. Do you have a page number?

I think I'm there. 25.. Looks like

© Cos Oo On fe RQ

10
11
12
13
14 25.
15
16
17
18 1
19 says
20

provided however" that's italicized.

See that in the third line?

21 A. Ido.

22 Q. Itsays, “Provided, however, that EFH
23 shall have no obligation to reimburse TCEH for
24 the Professional Fees paid pursuant to this

25 Section 2.7 in the event the Effective Date of

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1 MICHAEL -HENKIN
2 holders"?
3. A.. Right to the extent the debtor pays
4 them, then the debtor gets to deduct it from the
5 550.
6 Q. Right.
7 A. Right.
8 Q. So, to the extent that the settlement
9 agreement is approved, and under your analysis,
10. therefore, creates a sunk cost?
11 A... Correct.
12, Q. The 550 is — and therefore, the
13. debtors pay out the $49.75 million —
14° A. Okay.
Q. --to the settling parties?
A. To the professionals.
Q. To the professionals?
A. To the TCEH juniors.
19 Q. The 550 is never actually going to
20 hit; it's going to be $500 million?
21 MR. HARDIMAN: Object to the form:
22 Answer the question as best you can.
23 I'll just state for the record this is
24 ~~ a large agreement and he's been shown just a
25 few sections of it in a short period of

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1 MICHAEL HENKIN
2 would have both that intrinsic value and that
3 time value, right?
4 A. Yes. The same would hold true for the
5 claims that are against the T-side from the
6 E-side as weil, but that's true.
7 .Q. In Opinion 3, you noted that — let me
8 ask you this: We have talked about, you know,
9 at that moment in time where the debtors
10. decide -- at that moment in time when the buyers
11 decide whether they're willing to close, they're
12 going to evaluate their investment based on
13 ‘their perceived value and their cost, right?
14 A. They're going to evaluate the value
15 and the purchase price. When you say cost, |
16 assume you mean the cost to make the investment.
17, Q. And was using "cost" to be very
18 general. Like let's be precise. That cost is
19 the purchase price?
20 A. Yes, for the exercise of the rights
21. offering or the ultimate funding of the
22 transaction, it is the purchase price inherent
23 in the merger and purchase agreements.

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MICHAEL HENKIN
Judge Sontchi determines that there are no
make-wholes owed?

A. That's my understanding, yes.

Q. Right. So the range in value should
not account for any payments for make-wholes,
correct?

A. Correct, although my understanding is
that the purchaser could waive that condition
and close. And the debtors have done an
analysis assuming all those make-whole claims
are allowed a year after the case closes, so
there is a possible worst case where that could
be - those make-wholes could be incorporated
into the purchase price.

16. Q._ And in your understanding of the

17 economic rationale of a buyer, a buyer would
18 waive that condition and agree to pay the

19 make-wholes, to the extent that they were

20 ordered pre-closing, if they saw that the

21 transaction yielded greater value than the

22 purchase price with the additional payment of
23 the make-wholes, right?

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14 Judge Sontchi rules on Wednesday that the
15 federal judgment rate applies to post-petition
16 interest claims?
17. A... Yes.
18  Q. Is that the only driver between the
19 brackets of the range for the purchase price?
20 A. There's also the make-whole claims,
21. although | think that depends on when those are
22 determined as to whether the deal has a right to
eo: not close or not.
24 Q.__Isit your understanding that a
25. precondition to closing is that the — that

24 Q. And we have seen that there is a 24 A. Yes.
25 range, and that range is somewhere between.18.7' 25 Q. In evaluating whether to close or not,
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 and 19.3, depending on what emergence date, and 2 the analysis that the buyers are.going to
3 you believe 18.5 and 19.5 based on a later 3 perform is this straight economic analysis that
4 emergence date, correct? 4 is no different than the analysis that any buyer
5. A. Correct. 5 will evaluate at the moment in time when they
6 Q. So that's their cost.. And they're 6 are going to decide whether to close this
7 going to have greater visibility as to their 7 transaction?
8 cost as well, right? 8. A._ I think that's generally correct.
9 A. Yes, they should have some additional 9 Q. You used a phrase that there's no

10 information onto the likelihood of these 10 "reasonable assurance" that the merger will

11 disputed claims being allowed. 11. close, correct?

12  Q. Right. For example, the cost to the 12 A. Yes.

13. purchase price goes down to the extent that 13. Q. -How do you define "reasonable

-14 assurance"?

15 A. I define it as a reasonable likelihood

16 that the transaction would close.

17. Q._ And what methodology did you employ to
18 evaluate whether there was a reasonable

19 likelihood that the transaction will close?

20 A. We looked at four different

23° was : the remedies, or lack thereof, contained i in
24 the merger and purchase agreement; the third was
25 the option-like nature of the agreement; and the

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2 last was the record that was provided to the 2 necessarily correlate with whether the buyer is
@ 3. board based on my review of the presentations 3. going to close or not, but the record that the
4 that were made to the board. | -4 board got provides for whether there were
5 §Q. Howis the record presented to the 5 assurances that were made known to the board,
6 board of directors relevant to evaluating 6 and | believe that the opinion was focused on,
7 whether there is a reasonable likelihood that 7 from the buyer's perspective, whether there were
8. the buyer will close the transaction? Has the 8 sufficient assurances that the transaction would
9 buyer seen the board or directors presentations? | 9 likely close.
10 A. I don't believe so, but the opinion 10 Q.  Solong as your definition of

11 was directed at whether there was reasonable 11 "reasonable assurance" is reasonably likely to
12 assurances to the seller, and therefore, the 12 close?

13. opinion is does the seller and, in effect, the 13. A. Yes:

14 seller's board have reasonable assurances. 14 Q.. That's an evaluation of whether

15. That's my understanding of how the opinion was | 15 they're going to close at the moment of time

16 framed 16 when closing is required, right?

17 17 A. Yes.

18 18°  Q. Allright. Whatever assurance the

19 19 buyer gave prior to that, to use your term, is a
20 20 sunk cost, it's irrelevant, right?

21 21 A. Well, if the buyer gave certain

22 22 remedies or reduced conditionality, it helps
23 23 inform the seller that there may be a higher

24 likelihood that the transaction would close to

25. thatthe IC wi 25 the extent that the seller has an ability to
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1 1 MICHAEL HENKIN
2 2 force certain things onto the buyer.
3 3. Q. Right. So, to cut through it, the
4 4 prior commitment of a remedy is simply a
5 5 building block in the buyer's evaluation of what
6 6 the costs are, correct?
7 7A. The buyer's evaluation of cost.
8 8 Q. Let me do it another way.
9 [hat's correc 9 A. Okay.
10 Q. And the buyer is going to be solely an 10. Q.. If they're going to close the deal,
11 economic animal, right? And it's going 11. they're going to evaluate the value of the deal
12 to evaluate the decision to close — strike 12 vis-a-vis the purchase price, right?
13 that. 13. A. Yes.
14 The buyers are economic animals that 14. Q. Inthe alternative world, they say if
15, will evaluate whether to close solely based on 15. 1 don't close, I'm going to have to pay a break?
16 their economics of what they think the value of 16 A. Ifthere was a break fee, sure. A
17 the deal is versus the purchase price, right? 17 reverse termination fee, right.
18 A, | think that's correct. 18  Q. Let's use real numbers. In your
19 -Q. So what the board was told or not told 19 analysis, you're like if it's 19.1 is the value
20 about.-- what the board of EFH was told or not 20 of the transaction versus the purchase price of
21 told about the conditions for closing is 21 19, they're going to close, assuming no hurdie
22 irrelevant to the buyer's decision on an 22 rates or an internal rate of return?
@z economic basis of the value of the transaction 23 A. Assuming 550 or any of that kind of
24 versus the purchase price, right? 24 stuff, if the option was in the money, they
25 A. The board informing doesn't 25 should economically want to close.

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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 Q. Right. If the option isin the money, 2 have to factor in those remedies to figure out
e 3 they should want to close -- 3_ in the option in your world is in the money?
4 A. General -- 4 .A.. That is correct.
5 Q._ And if the option is in the money, 5 _Q. And so in evaluating whether to close
6 they're going to close, right? 6 this deal, they're going to look to the
7 A. They should have an economic incentive 7 alternative scenario and whether they think
8 to.close, yes. 8 that's more valuable than this option, right?
9. .Q. Right. And in evaluating whether 9 A. Other than the scenario where there's
10 they're in the money, they have got to evaluate 10 specific performance which could force someone
11 their costs, right? And the amount that they 11 to close even if it was uneconomic to them,
12 may or may not be in the money is going to 12 that's another type of a remedy that's not just
13° depend on how much they have already -- they 13 a financial, you know, dollar that you can
14 will have to pay for the option. And here, 14 adjust a price, yes.
15 using real -- you know, let me strike.that 15 Q. And the problem with specific
16 again. 16. performance is it's sometimes against a shell
17 If they're in the money, it's going to 17 entity that makes it illusory?
18 depend to what they're going to have to pay, 18 MR. HARDIMAN: Objection to form.
19 right? 19 Calls for a legal conclusion.
20 A. «Yes. 20 A. Okay.
21. Q.. Soif the costs are 19 and the option 21 Q.. You agree with that, right?
22 is worth 19.1, they're in the money; they're 22 A. Sometimes.
23 going to close, right? 23. Q. Where did you get your definition for
24 MR. HARDIMAN: Object to the form. 24 “reasonable assurance"?
25 A. Putting aside the 550, assuming that 25 A. Discussions with the team that helped
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 that's not there, yes, they should close if the 2 put the report together.
3 option has positive value, in the money. 3. Q._ Right. There is no, like,
4 QQ. Allright. Now, because they have -- 4 peer-reviewed article that you cite, correct?
5 you know, in your scenario with the reverse 5
6 termination fee, they can't maintain the status 6.
7 quo, right? They either have got to close or 7
8 they have got to do something else, and to do 8
9 something else, they're going to have to pay a 9
10 reverse termination fee, right? 10 including S&C, right?
11. A... Correct. 11. A. That's correct.
12 Q. And that's going to cost them $200 12 Q. So you got some input from them on
13. million? 13 what you thought the law was?
14. A. Yes, if that was the number. 14 MR. HARDIMAN: Object. | think, |
15. Q.. Right. And so there is a scenario in 15 could be wrong, | think that the rules are
16 a real-world option, not the securities option 16. that you can't answer ask that question,
17 that you are describing, where even if they 17 MR. McKANE: To the extent that you
18 were -- even if they could close and the asset 18 instructed him as to the law and it became
19 was worth 18.9, because it would -- and the cost 19 an assumption in his analysis, {'m entitled
20 was 19, because the alternative scenario would 20. ~ that.
21 cost them $200 million, 18.9 is still greater 21 MR. HARDIMAN: You can ask him that,
22 than 18.8 and they would close, right? 22. the assumption in the analysis, but the
@z A. Under your hypothetical, yes. 23 _ analysis says what it is.
24 Q.. So, in evaluating the alternative 24 BYMR.McKANE: —s tht oo
25 scenario whether it's these remedies or not, you | 25: ‘sno definition of "reasonable. _

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to inform my opinion.

Q. And you did not identify any of those
transactions in your report, right?

A. The other transactions where boards
rejected mergers? No, they weren't identified
in the report.

Q.. You don't have a table where you list
all the transactions that you evaluated that
were proposed and rejected by boards, right?
11. A. No.

12. Q. You didn't include any of the

13 materials for — that you reviewed that were
14 presented to those boards that were factors in
15 evaluating whether to enter into those

16 transactions, right?

17 A. No.

18 Q. The description you just gave of what
19 you were basing that opinion on is neither
20 contained in your report nor in the materials
21 which you relied on in preparing the report?
22 A. Well, it's contained in tables

23 Exhibits 2 and 3 in that I've identified these
24 factors -- specific performance, liquidated

25 damages, a reverse termination fee -- as the

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MICHAEL HENKIN
elements of remedies that would be available in
another type of a transaction. So | kind of
rely on Opinions 1 through 3 in order to inform
my Opinion 4.

Q.. Right. And to be clear, none of those
remedies are an assurance that the transaction
will close, right?

A. They provide assurances that it's more
likely to close when the remedies are present.

Q.. There is widely accepted
9 methodology for evaluating whether there are
10 reasonable assurances that a merger will close,

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11. right? 11 So I do think they address the issue of

12... A. I think it's widely accepted that 12 likelihood of closure.

13 remedies and conditionality are the underlying 13. Q. Let's be more precise, What those

14 metrics that companies evaluate in determining 14 remedies do is that they change the cost side of

15 the reasonable assurances of closure, because | 15 the equation?

16 have looked at a lot of transactions where 16 A. Some of them are purely financial and

17 boards rejected mergers or deals were not 17 do change --

18 consummated because of excess conditionalityand18  Q. And specific performance, you know, to

19 lack of reasonable likelihood of closing, and | 19 the extent that you think, you know, other than

20. think that most of those refer to the lack of 20. the -- let's break this down.

21 remedies and the lack of sufficient certainty of 21 The remedies that you identified;

22 closure. 22 other than specific performance, are money,
@: So those were the -- | don't think 23 right? They're quantums of money?

24 there's peer-reviewed articles, necessarily, but 24 A. Other than the few examples that we

25 those were the underlying analyses that | used 25 looked at where common law damages were

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1 MICHAEL HENKIN
2 preparation of your actual report, you only
3. relied.on those three or four board
4 presentations?
5 _ A. That's correct, with the exception
6 that there was some stuff on the intercompany
7 notes. | don't know if it was a board
8 presentation or not, but --

9 -Q. . The one-pager from 2011?
10. A. Although | didn't look at that in
11. preparation of this report. | looked at that

12 when | saw the Mendelsohn Report, but | don't
13. know if there were any -- | don't think there

14 were any board presentations as part of that
15. opinion.

16 Q. Allright. Thank you.

17 Sir, you're familiar, based on your

18 experience as an investment banker and in your
19 work for preparing your expert report, you're
20. familiar with a MAC clause, right?

21. A. Yes.

22 Q. Material adverse change, material

23. adverse effect clause.

24 A. «Yes.

25 QQ.  Do-you prefer MAC or MAE?

20 on relative negotiating strength to try to

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1 MICHAEL HENKIN
2 20 years, is it your general experience that a
3 material adverse change or a material adverse
4 conditions provision is common in merger
5 agreements?
6 A. Yes.
7  Q. And in your experience as a
8 restructuring professional for 20 years, am |
9 correct that if a -- if you represented a buyer
10 ‘and the seller was demanding specific
11. performance, you would insist that there be a
12 material adverse change or a material adverse
13 conditions provision that limited the buyer's
14 requirement to close?
15 A. You know, there's always a give and
16 take of negotiating leverage between a buyer and
17 aseller, and so it would depend on the
18 circumstances to whether | would advise my
19 client on those provisions, but | would advise

21 protect the party that | was representing.

22. Q.— Right. And in your experience, the

23 ability to get a provision like specific

24 performance against the buyer depends in large
25. part on the parties' negotiating position,

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A. MAC is fine.

Q. So, in your experience and based on
your review of merger. agreements in preparing to
provide your opinions today, did you conclude
that it is industry practice for there to be a
MAE or MAC clause when there is specific
performance that can be asserted against the
buyer?

A. . You know, I didn't look at the MAC
clauses as part of our survey, so | don't really
12 have an opinion on that.

13. Q.. So, setting aside the work you did

14 here -- so let's be precise. In-you preparing

15 to render your expert report, you did not

16 analyze whether there was a correlation between
17 the buyer committing to specific performance to
18 close the transaction and the buyer's ability to
19 have the ability not to close in the event that

20 there's a material adverse change or a material
21 adverse condition?

22 A. That's correct.

23. Q.. Other than your work in preparing to

24 testify today on this opinion, based on your

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25. experience as a restructuring professional for

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1 MICHAEL HENKIN
2 right?
3. A. Yes.
4 _ Q.. And that negotiating position depends
5 on the relative weight that the party
6 negotiating places on the value of the specific
7 performance as opposed to other provisions like
8. the value of a fiduciary out, right?

A. — True.
MR. HARDIMAN: Object to form.

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18 Q.. Indiscussing the conditionality of
19 the transaction, you identified that as one of
20 the factors you considered in rendering an

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1 MICHAE : MICHAEL HENKIN
2 utilized implied market value. It happens to
: correlate with the Evercore valuation as well,
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16 TE = mle gee ee
17 Q. October 8, okay.
18 What was the implied market value of
19 TCEH as of the date of the filing of the
20 disclosure statement?
21 A. It's in Exhibit 13. It looks like
22 $16.9 billion -- I'm sorry, it's $15.2 billion.
23 Q. $15.2 billion. And that's the
24 Evercore valuation, right?
25 it A..No. No. That's just the implied
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MICHAEL HENKIN 1 MICHAEL HENKIN
Q. And that's where | wanted to go next, 2 market value. Evercore did put a valuation on
right? The conditions exist in the report — 3. TCEH with the disclosure statement that
sorry, the conditions exist in the merger 4 encompassed that, this range.
agreement and the PSA, right? 5 Q. Butit had a different market value
A. Yes. 6 because it had a different date?
Q. And in addition to just relying on 7 A. It was.a different date, correct.
those agreements, you then attempt to adopt or 8 @Q. Right. And so you've got a market
rely upon the debtors' assessment that it's 9 value as of March 24 of ‘15 that you believe
presented to. its board, right? 10. yields an implied value of what?

11. A. $15.236 billion.
12. Q. Okay. That's based on trading values
13 of securities, right?

20 Q. Let's talk about the last opinion,

21° Opinion 6. Am | correct that Opinion 6 states
22 that the value of TCEH today suggests no tax
23 liability will exist for EFH if there is a

24 taxable sale using EFH's NOLs?

25 A. Yes, other than the value - I've

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1 1 MICHAEL HENKIN
2 2 liens on the first day, right?
@ 3 3. A. They did in their pretax submission
4% 4 memo cite $18 billion for value of TCEH, yes.
5  Q.. If they did that, you would be living 5 Q._ Right. So, using the initial tax memo:
6 on a beach, right? 6 that was an illustration of $18 billion?
7 A. Yes. 7 A... Yes.
8 Q. You would be retired? 8 Q.. We have seen a $8.5 billion swing in
9. A. [would be a lot wealthier than | am 9 the value of TCEH, right?
10 today, yes. 10 A: Yes.
11. Q. And the point is, for determining the 11. Q._ Right. And the one thing | think you
12 enterprise value of -- strike that. 12 and | will undeniably agree on is we don't know
13 What is the relevant point in time at 13. what the value is going to be on the emergence
14 which you have to determine TCEH enterprise 14 date?
15 value? 15 A. That's fair:
16 A. Well, the purpose of the valuation as 16. Q.. And if the value returns to the value
17 part of the plan would be to predict or to try 17 that was included in the original expert report
18 to estimate the value as of the effective date 18 that Mr. Ying submitted with the disclosure

19 of the plan. That's generally the date that the 19 statement, the NOLs of EFH could not shield all
Ns.are geared towards, 20 of the tax liability that would be triggered by

21 aTCEH taxable sale?

22 A. | believe his range started at $12

23 billion, and so if it returned to the lowest

24 point in his range, there may not be a

25 taxable -- a tax due, but if it was higher than

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4 MICHAEL HENKIN
2 that, it, as of 6/30, it may incur a tax.
3. .Q. Solet's be a littie more precise. We
4 talked about hurdle rates before?
5 A. Yes.
6 Q._ Right?
AL Yes. 7 If | asked you what was the hurdle
8  Q.. Nobody can predict what the value of 8. valuation at which EFH would be able to shield
9 TCEH will be six to nine months in the future, 9 all of the cash tax obligation associated with
10 the TCEH taxable spin, what would that number
11 be?
12 A. That number as of 6/30 is about $12
13. billion:
14 Q.. So, just so we're all level-set on
15 at et 15 what we're talking about, EFH owns NOLs, right?
16. Q. Based.on representations made at the 16 A. Yes,
17 first day hearing, the value in this case has 17 .Q. And EFH can use those NOLs during a
18 swung by over $9 billion, right? 18 restructuring to shield certain amounts of tax
19 A. That is correct. Well, approximately 19 liability that are triggered within its
20 $9 billion. 20 enterprise so long as they satisfy the proper
21. Q.. Approximate. 21 IRS regs. and they have enough NOLs, right?
22 A. Because $18 billion was the number 22 A. | believe that's correct, yes.
@: that the debtors used on the first day. Now 23 Q._ And there is — to the extent that
24 we're down at 9.6. 24 TCEH does a taxable transaction as opposed toa
25. Q.. Tobe precise that was the TCEH first 25 tax-free spin, it will trigger a tax, right?

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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 A. It may trigger a tax if there is not 2 almost all NOLs cannot be utilized by the new
e 3. enough tax attributes to shield the potential 3 reorganized entity?
4 gain. 4 A. There are limitations put on the NOLs
2  Q._ Right. So let me just break it down. 5 after you go through a Chapter 11 restructuring,
6 EFH is a taxpayer, right? 6 yes.
7 A._ That is correct. They own the stock 7 Q. Significant limitations; these are IRS
8 of TCEH. 8 limitations on what NOLs can be used, right?
9  Q.  TCEH isa disregarded entity for tax 9 MR. HARDIMAN: Object to the form.
10 purposes, right? 10 A... Yes.
11 A. - That's correct. 11° Q.__ And you know as a restructuring
12 -Q._ Indetermining whether EFH owes a tax 12_ professional that -- in this case, have you
13 liability for a transaction of TCEH, you have to 13. evaluated, you know, how many of EFH's NOLs, if
14 evaluate what the cost basis is of the TCEH 14 any, could survive a restructuring?
15. assets-and what the value is for TCEH at the 15. . A. | have not looked at that issue of the
16. time of the transaction closing, right? 16 post-reorganized entity's utilization of NOLs.
17. A. think that's correct. 17 Q. Okay. Is that relevant at all to your
18 Q. Allright. And if the value of EFH at 18 evaluation as to whether EFH should use their
19. the time the transaction closes is greater than 19 NOLs to shield taxes of EFH -- of TCEH? Excuse
20 the cost basis, there is a tax owed if it's a 20 me:
21 taxable transaction, right? 21 A... It might have some relevance if you
22 . A. Unless there are tax attributes that 22 were trying to evaluate what the alternatives of
23 would reduce the potential gain, that is 23 paying the tax is and taking that value into
24 correct. 24 some reorganized entity, yes.
25. Q. Let me take it in steps. 25. Q. Right. So, in other words, if it's
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1 MICHAEL HENKIN 1 MICHAEL HENKIN
2 There is a tax that would be 2 use it or lose it, right, it may not matter as
3 triggered, and then the question would be is a 3 much to EFH to convey those tax attributes to
4 cash tax actually going to be paid or could it 4 TCEH if they can get something else in return?
5 be offset with tax attributes? 5 ‘
6 A. Okay. 6
7 Q... Right? 7
8 A. That's fair. 8
9 @Q. Is that fair? 9
10°. A. That's fair. 10 ecisio’ correct). 2
11. -Q. And EFH owns those tax attributes, 11.. Q. And in fact, the IRS doesn't limit
12 right? 12 itself to how the new securities trade
13° A. Yes. 13 immediately post-emergence, correct?
14. Q. And upon emergence, what happens to 14 MR. HARDIMAN: Object to the form.
15 EFH's NOLs? 15 A.. I've had some experience with the IRS
16 A. | believe that, under the plan, 16 where they do a retrospective analysis and look
17 they're going -- some of them are going to be 17 at-some of the values that may have occurred
18 utilized for a partial step-up under the current 18 either prior to or right after the date of
19. plan. 19. emergence, yes.
20 Q. Let's step back away from this plan, 20 Q. Soalet me presenta scenario, and
21 right? As a restructuring professional, you 21 based on your experience, you tell me whether
22 know that NOLs are a valuable tax attribute, 22 this is accurate.
@- right? 23 lf TCEH is anticipated to emerge at
24 A. $#Yeés. 24 $12 billion enterprise value, but immediately
25... Q. And you know that in a restructuring, 25 thereafter the securities of TCEH trade as if

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1 MICHAEL. HENKIN 1 MICHAEL HENKIN
2 the enterprise price value is $15 billion or 2 little bit before and/or a little bit after is
3 higher, does the IRS have the ability to 3 my experience.
6] 4 challenge the TCEH valuation upon emergence and 4 Q. - And we have no visibility right now as
5 argue that a tax is owed? 5 restructuring professionals to say what that
6. A. Yes. 6 value is going to be, right?
7 MR. HARDIMAN: Object to the form. 7 _A.. We know where it's trading today, and
8 A. Based on my experience, yes, they do. 8 we.understand the gap between where it's trading
9 -Q... So we won't know whether a TCEH 9 today and where it needs to potentially trade up
10 taxable transaction actually triggers a cash tax 10. to, so | think you can at least make some

11 obligation at EFH until some point in time after 11 predictions, but without any precision.
12 new reorganized TCEH emerges and trades in 12, Q. Allright.

13 public securities and the IRS makes a 13. A. Mr. Ying has done that, and he's made
14. determination as to whether it wants to 14 a prediction in his own report based on where he
15. challenge whether a tax is owed? 15 thinks the value will be, so obviously it’s
16 A. You're assuming that it's going to be 16 done, but it doesn't have the level of precision
17. a public company when it emerges, but the 17 that you're asking about.
18 presumption that there is a risk that the IRS 18 Q. Right. And so, to be precise, what
19. would evaluate the transaction afterwards when | 149 Mr. Ying has done is a full valuation of TCEH at
20 it did a valuation, that is correct, that 20 an anticipated point in time based on an
21 exists. 21 evaluation of discounted cash flows, forecasted
22. Q. And whether or not it's a public 22 EBITDA, and comparable companies, right?
23 company simply provides greater evidence tothe |23 A. That's correct.
24 IRS as to what the actual value of the 24 Q. And that's not the analysis that you
25 reorganized TCEH will be? 25 have done?
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1 MICHAEL HENKIN 1
2 A. Right. It may provide some additional 2
3 trading levels and some additional market 3
4 information. 4
5 Q.  So,-at this point in time, we don't Sr
6 know what TCEH will be valued at upon emergence 6 Qa Right. And even with Mr. Ying’s
7 and we won't know -- we don't know what value 7 formal valuation report, the IRS is not bound to
8 TCEH will trade at in any public markets for any 8 accept his number?
9 securities it issues, correct? 9 A. That's true.
10 MR. HARDIMAN: Object to the form. 10. Q. The current plan of reorganization
11. A... That's true. 11 contemplates a TCEH tax-free spin that occurs
12 Q. Sois it fair to say the current 12 before the merger, correct?
13 trading price of TCEH would be viewed as not 13 A. Yes.
14 relevant to the IRS in evaluating whether it 14 Q. Is there value to EFH in having TCEH

15 wanted to assert whether a cash tax is owed at 15. go first in a tax-free spin?
16 EFH for the value of post-reorganized TCEH? 16 A: As far as the sequencing of utilizing

17 MR. HARDIMAN: Object to the form. 17 various tax attributes, is that what you're
18 A. I think that's generally correct. The 18. asking about?
19. IRS is going to likely not rely on the current 19° Q. 1am specifically highlighting the
20 value. It's going to rely on a later value at 20 sequencing, and specifically, is there value to
21 or near the effective date. 21 EFH in having a TCEH tax-free spin happen first?
22 Q. It's not even going to be at or near 22 A. There may be. | know there's a
@- the effective date. It will even look at after 23 complex analysis that was done by the debtors
24 the effective date? 24 and their tax advisors as to structuring a
25. A. Right, | meant by me -- | meant a 25 number of sequences to try to optimize the

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